Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 1 of 60




       EXHIBIT “A”
      Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 2 of 60




                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                           :
JILL STEIN, et al.,                        :
                                           :   CIVIL ACTION
                                           :
                           Plaintiffs,
                                           :
                      v.                   :   No. 16-cv-6287(PD)
KATHY BOOCKVAR, in her official capacity   :
as Secretary of the Commonwealth, and      :
JONATHAN MARKS, in his official capacity   :
as Commissioner of the Bureau of           :
Commissions, Elections and Legislation,    :
                                           :
                           Defendants.     :
                                           :
                                           :

              INTERVENORS’ RESPONSE IN OPPOSITION TO
     PLAINTIFFS’ MOTION TO ENFORCE THE SETTLEMENT AGREEMENT
               Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 3 of 60




                                                          Table of Contents

I.             INTRODUCTION............................................................................................................. 1

II.            BACKGROUND ............................................................................................................... 3
     A.        Plaintiffs’ Litigation Efforts to Advocate for Voting Systems That Create a Paper
               Record ................................................................................................................................. 3
     B.        The Acquisition of a New Voting System for Philadelphia ............................................... 5
     C.        The Settlement Agreement and the Settling Parties’ Post-Settlement Agreement
               Conduct ............................................................................................................................. 11

III.           ARGUMENT ................................................................................................................... 15
     A.        Plaintiffs’ Contract Arguments Fail .................................................................................. 15
          1.      Plaintiffs’ Motion Must Be Denied Because Their Proposed Contract
                  Interpretation Is Contrary to the Unambiguous Terms of the Settlement
                  Agreement ..................................................................................................................... 15
          2.      To the Extent the Contract Is Ambiguous, the Conduct of the Parties
                  Demonstrates the ExpressVote XL Satisfies the Parties’ Understanding at the
                  Time the Contract Was Signed (and for Eight Months Thereafter). ............................. 17
     B.        Laches Bars Plaintiffs’ Requested Relief ......................................................................... 18
     C.        Plaintiffs’ Intended Interpretation of the Contract Would Be Unenforceable .................. 21

IV.            CONCLUSION ............................................................................................................... 22




                                                                             ii
            Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 4 of 60




                                                  TABLE OF AUTHORITIES

Cases
Anela v. Pennsylvania Hous. Fin. Agency, 690 A.2d 1157 (Pa. 1997)......................................... 21
Benchmark Group, Inc. v. Penn Tank Lines, Inc., 612 F. Supp. 2d 562 (E.D. Pa. 2009) ............ 16
In re Bressman, 874 F.3d 142 (3d Cir. 2017) ............................................................................... 19
Kerrigan v. Philadelphia Bd. of Election, No. 07-687, 2008 WL 3562521 (E.D. Pa. Aug.
   14, 2008) ................................................................................................................................... 20
Lobolito, Inc. v. North Pocono School Dist., 562 Pa. 380 (2000) ................................................ 22
Reynolds v. Sims, 377 U.S. 533 (1964) ......................................................................................... 20
SCA Hygiene Products Aktiebolag v. First Quality Baby Products, LLC, 137 S. Ct. 954
   (2017) ........................................................................................................................................ 19
Sprague v. Casey, 550 A.2d 184 (1988) ....................................................................................... 19
Statutes
25 P.S. § 2621 ............................................................................................................................... 21
25 P.S. § 3031.1 ................................................................................................................ 15, 16, 21
Other Authorities
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  machines, Philly Voice (Feb. 20, 2019) .................................................................................... 19
Cheryl Rougeux, December Green Star from Pennsylvania: GPPA News Highlights: A
  Historic Victory for PA Voters! ................................................................................................ 13
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  Phila. Magazine (Feb. 21, 2019 12:06 PM) .............................................................................. 19
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  2018) ................................................................................................................................... 12, 17
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  advocates, Phila. Inquirer (Feb. 20, 2019) ................................................................................ 13
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  decision, Phila. Inquirer (Apr. 17, 2019) .................................................................................. 14
Miguel Martinez-Valle, Exclusive First Look at Philadelphia’s Controversial New Voting
  Machines, NBC10 Phila. (Apr. 30, 2019 9:11 PM) .................................................................. 14




                                                                        iii
        Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 5 of 60




I.      INTRODUCTION

        Several years ago, the City of Philadelphia and the Philadelphia County Board of

Elections began planning for the acquisition of a new voting system to replace the Danaher

electronic voting machines that had been used in the City since 2002. This was a significant

project in terms of time, effort, and the commitment of taxpayer funds that would involve many

City Departments and was originally expected to be a three-year process. After the 2016

election, the Commonwealth began encouraging counties to acquire new voting systems that

would make a paper record of the vote in time for them to be used in the 2020 Presidential

Election. The Commonwealth’s efforts included directives in early 2018 and, ultimately, the

Settlement Agreement between the parties in this litigation on November 28, 2018. In most

relevant part, that agreement required that all newly certified machines in the Commonwealth

provide a paper record of the votes cast. As a result, the Board of Elections and the City moved

forward on an accelerated timeline, compressing the process into a year and a half. This was

done to ensure the City’s new voting system would be used no later than November 2019

because using a new system for the first time in a Presidential Election Cycle could impair the

ability to run the election.

        The City’s process for acquiring these voting machines began in the Procurement

Department with a Request for Information (RFI) and, on November 30, 2018, a Request for

Proposals (RFP). The Procurement Department reviewed the responses it received from vendors

and ultimately suggested two substantially similar voting machines for the Board of Elections’

determination. Both systems had been recently certified by the Department of State for use in

Pennsylvania. Even on an accelerated basis, this process required two and a half months, not

including the RFI process or the drafting of the RFP. On February 19, 2019, the Board of

Elections selected the ExpressVote XL for use in Philadelphia.


                                                1
        Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 6 of 60




       The City and the Board of Elections then moved forward with the myriad of tasks

involved in implementing a new voting system. These included negotiating a final contract,

receiving delivery of 3,750 voting machines and testing each machine individually, training the

City’s 8,000 poll workers and translators to use the new machines, conducting demonstrations

for the public on the new machines, acquiring a new climate-controlled warehouse to house the

new machines, conducting a pilot-election to test procedures for the new machines, and

numerous other duties that arise in relation to changing the mechanical infrastructure of an

organization responsible for ensuring the orderly operation of over 1,700 divisions on election

day. The effort was herculean and ultimately successful. On November 5, 2019, the City

successfully used the ExpressVote XL in the General Election.

       On the heels of this successful transition, the City was dismayed to learn three weeks

later, on November 26, 2019, that Plaintiffs in this litigation had filed a motion with this Court

seeking to have the ExpressVote XL decertified. Were this to occur, the City would be unable to

use the machines that the Commonwealth had certified two days after the Settlement Agreement

was signed. The City would be unable to use the machines on which it had spent millions of

taxpayer dollars. The City would be unable to use the machines which it had spent a year of

coordinated efforts to implement. And the Board of Elections would have no voting system

other than the prior Danaher DRE machines available with which to conduct elections in

Philadelphia. In short, Plaintiffs’ Motion, filed a year after the machines Philadelphia purchased

were certified, poses a real threat to the ability of Philadelphians to exercise their franchise and

would undermine and unwind all the work the City has done over the past 18 months.

       Because the City and the Board of Elections share a concrete and immediate interest in

Plaintiffs’ Motion, we have sought to intervene in this action. We do so because the harm to the




                                                  2
        Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 7 of 60




ability to conduct elections would be real and would entirely be caused by Plaintiffs’ delay in

seeking their requested relief. Each step of the City’s efforts to acquire its new voting system

has been the subject of public attention. Yet at no point until late July 2019, after nearly all the

voting machines had been received and accepted, did Plaintiffs even raise the idea that the

ExpressVote XL violated a private agreement they had reached with the Secretary to settle this

litigation. And Plaintiffs waited even longer – until three weeks after the November election – to

come before this Court seeking relief. Plaintiffs’ delay creates the specter of a judicial fire drill

that would not only harm the City and Board of Elections, it would also serve to undermine the

confidence of the public in voting systems that meet the requirements of Pennsylvania law and

have been properly acquired and effectively used by Philadelphia.

       For the reasons set forth below, this Court should deny Plaintiffs’ Motion, reject the

requested relief, and not countenance Plaintiffs’ delayed effort, which would create confusion

and uncertainty at the polls.

II.    BACKGROUND

       A.      Plaintiffs’ Litigation Efforts to Advocate for
               Voting Systems That Create a Paper Record

       Until the filing of our Motion to Intervene, neither the Philadelphia County Board of

Elections nor the City were directly involved in this litigation. The Philadelphia County Board

of Elections, however, was the respondent to a December 2, 2016 petition filed by Jill Stein in

the Philadelphia County Court of Common Pleas challenging the Board of Elections’ denial of

her request for forensic computer audit procedures with respect to the November 2016 General

Election. (Petition, Stein v. Philadelphia County Bd. of Elections (Stein v. County Bd.), No.

161103335 (Ct. Comm. Pleas Phila.), attached hereto as Exhibit 1.) Stein’s petition argued that

because Philadelphia utilized direct electronic recording (“DRE”) machines for voting and



                                                  3
        Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 8 of 60




because those machines did not produce a paper record of the vote, Stein should be entitled to a

“forensic examination” of the machines because, Stein argued, without such an audit there would

be no way to know if machines had been hacked. (Id.) The Court of Common Pleas denied

Stein’s Petition on December 7, 2016. (Stein v. County Bd., (Ct. Comm. Pleas Phila. Dec. 7,

2016), attached hereto as Exhibit 2.)

       The Commonwealth’s Opposition to Plaintiffs’ Motion to Enforce Settlement Agreement

(“Commw. Opp.”) sets forth the factual background and procedural history of this litigation in

detail. (Commw. Opp. (ECF 123) at 7-24). Intervenors incorporate that full history herein and

highlight the most salient points relevant to this Opposition.

   •   Plaintiffs’ Complaint initiating this litigation was filed on December 5, 2016,
       concurrent with Plaintiffs’ efforts in the Commonwealth’s courts to obtain recount
       and computer audit procedures. (See Mem. (ECF 55) at 5-7). The Complaint
       started with one of Plaintiffs’ primary grievances, that the DRE machines used in
       Pennsylvania (including those used in Philadelphia), did not provide a “paper trail”,
       leaving voters to “hope their votes were counted accurately.” (Compl. (ECF 1)
       ¶¶ 1, 15.)

   •   On December 12, 2016, this Court denied Plaintiffs’ request for a preliminary
       injunction for several reasons. In most relevant part, this Court held that the DRE
       voting machines used in Pennsylvania had been in use prior to the 2016 Presidential
       Election and, therefore, Plaintiffs could have acted sooner rather than waiting “well
       past the eleventh hour” to seek their relief. Mem. at 20-21. The Court denied the
       claim on the basis of laches, describing the judicial process resulting from
       Plaintiffs’ delay as “unnecessary and unfair to all concerned.” (Id.)

   •   Plaintiffs filed their Amended Complaint on February 14, 2017. The Amended
       Complaint again raised concerns that voters in Pennsylvania voted on “DRE
       machines with no paper trail” and that as a result there was “no way for election
       officials to verify those choices in the case of a recount.” (Am. Compl. (ECF 71)
       ¶¶ 24-25.)

   •   Over the next year and a half, the Plaintiffs and Defendants briefed motions to
       dismiss and addressed procedural issues with the Court. The Court then granted
       the Commonwealth’s Motion to Dismiss in part. Ultimately, the Court dismissed
       all of Plaintiffs’ claims arising from the 2016 election and their Due Process claim
       that they were denied their state-law right to a recount. (Sept. 7, 2018 Order (ECF
       98) at 40.) The Court denied the Motion to Dismiss the Plaintiffs’ First Amendment
       claims under the Election Code, finding that the selection of certain voting


                                                 4
        Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 9 of 60




       machines prone to malfunctioning or hacking could expose voters to an
       unconstitutional risk that their vote might not be counted. (Id. at 38.) Notably, the
       Court reiterated its previous finding that the “fear of vote tampering in
       Pennsylvania during the 2016 Presidential election ‘borders on the irrational’”. (Id.
       at 34 (citing Mem. at 31).) However, because a claim under the First Amendment
       can arise where there is an unconstitutional risk of hacking or malfunctioning, and
       Defendants were silent on the DRE and optical scan machines’ risk of error, the
       Court allowed these claims to proceed to discovery. (Id. at 34-37.)

   •   The parties then engaged in settlement discussions and resolved this litigation by
       executing the Settlement Agreement on November 28, 2018 that now serves as the
       basis of Plaintiffs’ Motion to Enforce Settlement Agreement. (Settlement
       Agreement (ECF 108-1)).

       B.      The Acquisition of a New Voting System for Philadelphia

       Concurrent with the year and a half period during which Plaintiffs and Defendants

addressed motions to dismiss before this Court, the Department of State began a campaign to

encourage counties in the Commonwealth to accelerate the acquisition of new voting systems to

ensure that by the Presidential Election in 2020, voters would use machines that provided a paper

record for voter verification and audit purposes. (See, e.g., Statement of Governor Tom Wolf

(Feb. 9, 2018), https://www.governor.pa.gov/newsroom/governor-wolf-statement-directive-new-

voting-machines-paper-record/ (commending the Pennsylvania Department of State’s new

directive requiring new voting machines to have a voter-verifiable paper ballot or paper record of

votes cast); Statement of Acting Secretary of State Robert Torres (April 2, 2018),

https://www.media.pa.gov/Pages/State-Details.aspx?newsid=276 (directing Pennsylvania’s

counties to have voter-verifiable paper record voting systems in place no later than December 31,

2019, and preferably by the November 2019 general election).)

       Since 2002 (and prior to November 2019), Philadelphia had been utilizing Danaher

Direct Recording Electronic (DRE) voting machines that did not generate a paper record that

voters could review and verify before casting their vote. (Lynch Decl. (ECF 123-2) ¶ 4; see

Boockvar Decl. (ECF 123-1) ¶ 10.) Recognizing the need to modernize voting equipment and


                                                5
       Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 10 of 60




ensure reviewable and auditable paper records, Philadelphia had begun to plan for acquiring a

new voting system by 2022. (Lynch Decl. ¶ 4.) Given the Governor and Department of State’s

advisories during 2018, Philadelphia accelerated its timeline and took on the monumental task of

transitioning to a new voting system by November 2019.

       The first step in the acquisition of Philadelphia’s new voting system was the procurement

process which, on its own, required 16 months to complete. (Nesmith-Joyner Decl. (ECF 123-3)

¶ 5.) Due the complexities of the contract, eight separate City departments were involved in the

procurement process, including the City Commissioners, the Procurement Department, the

Office of Internet Technology, the Chief Administration Office, the Office of the Director of

Finance, City Council, the Law Department, and the Mayor’s Office. (Id. ¶ 6.) First, the City

obtained authorization for the expenditure of $30 million for the new machines, allowing the

procurement process to formally begin in February 2018. (Id. ¶ 7.) Following Governor Wolf’s

directive, an aggressive timeline was established to have a new voting system in place by the

November 2019 general election. (Id. ¶ 8.) On June 4, 2018, the City issued a Request for

Information (RFI) to allow respondents to submit information for the City to consider in

preparing their Request for Proposal (RFP) to allow vendors to bid on the contract. (Id. ¶¶ 9-10.)

Upon receiving the information at the close of the RFI in July, the Board of Elections began to

draft a Request for Proposal that would ultimately require review and approval by the

Procurement Department and then the Local Contract Opportunity Review Committee. (Id.

¶¶ 13-14.)

       As this drafting process was occurring, the State was taking steps to certify voting

machines that would be compliant with the Governor’s voter-verifiable paper record directive.

Between September 25 and 28, 2018 the ES&S EVS 6021 (which includes the ExpressVote XL)




                                                6
         Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 11 of 60




was tested by the State, with the official certification being issued by Acting Secretary Robert

Torres on November 30, 2018. (Boockvar Decl., Ex. 1 at 11.) On this same day, the Request for

Proposal was publicly posted. (Nesmith-Joyner Decl. ¶ 15.) Proposals were due to the City by

December 28, 2018 and then required a review by the selection committee approved by the

Procurement Commissioner. (Id. ¶¶ 15-16.) This was substantial work; the Committee met at

least 10 times to review and score the competing proposals. (Id. ¶ 18.) Ultimately, two

proposals, including one from ES&S, were submitted to the Procurement Commissioner on

February 12, 2019. (Id.) This information was provided to the Board of Elections for the

selection of the most appropriate voting system for the City of Philadelphia. (Id. ¶ 19.) At the

meeting of the Commissioners on February 20, 2019, the Philadelphia Board of Elections

selected the ES&S ExpressVote XL, a voting system certified by the State as safe for use by

voters, to replace the Danaher DRE voting machines. (Lynch Decl., ex. 1 at 2; Boockvar Decl.

¶ 76.)

         However the selection process was only a part of the work. After February 20, 2019, the

City had to negotiate a final contract with ES&S, and the Board of Elections, along with other

City Departments, had to implement the new voting system. The transition to the system

required myriad activities including: training poll workers and interpreters on new equipment,

familiarizing voters with new machines, pre-testing all new machines, ensuring poll places can

logistically accommodate new machines and selecting new polling places if necessary, securing

appropriate storage space for new machines, procuring any new equipment to ensure

compatibility with new machines, conducting pilot elections using new machines, and testing

chain of custody. (Id. ¶¶ 9-22.)




                                                 7
       Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 12 of 60




       Philadelphia assumed this herculean effort and completed its preparation for the new

voting systems in record time – at the expense of countless hours of manpower from City

employees. First and foremost, Philadelphia needed to safeguard the new machines that they

spent millions of dollars acquiring. Not only did the Board need to arrange for a new warehouse

lease that would accommodate the larger size of the machines, but with the introduction of the

paper ballot system, also needed to account for a climate-controlled environment that would

preserve the condition of the ballots. (Id. ¶ 9.) The warehouse selected had to be retrofitted for

additional power outlets and have the floor sealed to limit dust. (Id.) Every one of these

individual steps required going through the City’s procurement process. (Id.)

       From April to August 2019 the Board received 29 shipments containing between 60 and

240 of the new ExpressVote XL machines. (Id., ex. 2 at 2.) In total, 3,750 machines were

received on 49 trucks during this period. (Id.) Upon receipt, the Board was tasked with testing

each individual machine for physical defects and proper functionality. (Id. ¶¶ 10-11.) With

testing taking approximately one hour per machine, 3,750 hours of manpower were spent

completing this step. (Id. ¶ 11.) Introducing the new equipment also required Philadelphia to re-

evaluate established polling locations. Since the size and ability to move up and down stairs

differed from the previous machines, an individual analysis of over 800 polling locations had to

occur prior to implementation. (Id. ¶ 22.) This resulted in the need to move several poll

locations for logistical accommodation. (Id.) The City also had to expend additional resources

purchasing new secure computer systems, upgrading internet speed connections, and purchasing

optical scanners that would be compatible with the new voting systems. (Id. ¶ 12.)

       With the logistical framework in place, Philadelphia turned to the essential steps of

training its poll workers and familiarizing the voters with the new machines. Thousands of hours




                                                 8
       Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 13 of 60




were committed to this operation to provide for a smooth and orderly transition to the new

system. To reach the more than 1 million registered voters in the City of Philadelphia, the Board

performed 827 demonstrations over the course of five months at a multitude of public spaces

including City Hall, public schools, libraries, block parties, recreation centers, nursing homes,

swimming pools, and civic group meetings. (Id., ex. 3 at 3.) Each demonstration resulted in the

Board having to plan for staffing the event and arranging transportation for the equipment. (Id.

¶ 17.) It was also crucial that the poll workers and translators receive robust training so that they

could properly assist voters on election day. The number of registered voters, and the 831

polling locations, necessitate nearly 8,000 poll workers and translators for the City. (Id. ¶¶ 31-

32.) Accordingly, the Board held over 100 training sessions, utilizing each day of the week,

including weekends, in July and August of 2019. (Id. ¶ 20.) The amount of time and money

dedicated to these demonstrations and trainings cannot be overstated.

       Finally, in late August, the Board utilized its staff of approximately 100 employees to

conduct a pilot election using 80 new machines spread out at different polling locations

throughout the City. (Id. ¶ 21.) The pilot allowed the board to test new procedures with the

ExpressVote XL, the delivery process, and other logistical operations. (Id.) Most importantly,

following sample voting, the Board conducted testing of the post-election process. (Id.) The

conversion to paper ballots imposed a need for new chain of custody procedures, which required

testing prior to implementing the new systems. (Id.) Additionally, the Board was able to test the

new computers in conducting post-election procedures. (Id.)

       As a result of these efforts, the ExpressVote XL was able to be utilized for the first time

in the City during the November 2019 general election. A robust pretesting process of all

machines, along with randomized follow up screening, was performed on every machine used on




                                                  9
       Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 14 of 60




election day. (Id. ¶¶ 23-24.) These machines were subsequently sealed, tracked, and recorded at

each polling location. (Id. ¶ 25.) Across the 831 polling locations 304,553 votes were cast, with

the Board receiving fewer complaints than it had during the preceding election. (Id. ¶ 26.) The

Board conducted two audits following the election, one as required by state statute, and an

additional risk-limiting audit pilot in collaboration with experts from the State, U.S. Election

Assistance Commission, the University of Michigan, Brennan Center for Justice at NYU School

of Law, the Democracy Fund, VotingWorks, and Verified Voting. (Id. ¶ 27.) The Board is

currently in preparation for the 2020 election cycle, in which Philadelphia intends to again utilize

the newly purchased ExpressVote XL voting machines. 1 (Id. ¶ 29.)

       The City and Board of Elections learned of the Plaintiffs’ November 26, 2019 filing and

requested relief for decertification of the ExpressVote XL to this Court shortly after it was filed.

The City and the Board of Elections determined that decertification would not only result in an

enormous financial loss to the City, but would likely cause the Board of Elections to be

incapable of conducting orderly elections in Philadelphia during the Presidential election cycle.

Replacing 3,750 machines before the 2020 election cycle would be nothing short of impossible

at this point, leading to confusion and the potential disenfranchisement of over one million

registered voters in the City. (Lynch Decl. ¶¶ 30-33; Nesmith-Joyner Decl. ¶¶ 22-29; Boockvar

Decl. ¶¶ 78-84.) And the time, money, personnel, and resources that the City and the Board

devoted to replacing the DRE voting system will all be for naught.




1
 Next year, Philadelphia expects to begin the process of fully decommissioning the Danaher
DRE machines used from 2002 through Spring 2019. Other than those DRE machines,
Philadelphia has no voting system currently available that could be used in either April 2020 or
November 2020 in the event Plaintiffs were to obtain the relief they seek.


                                                 10
         Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 15 of 60




         C.     The Settlement Agreement and the Settling
                Parties’ Post-Settlement Agreement Conduct

         The Settlement Agreement was reached through an October 11, 2018 settlement

conference, (Boockvar Decl. ¶ 60), and signed on November 28, 2018, (Settlement Agreement at

10-11 2). There are two separate paragraphs of the Settlement Agreement most relevant to

Plaintiffs’ Motion. Paragraph 2 states that:

         The Secretary will only certify new voting systems for use in Pennsylvania if they
         meet these criteria:
                a. The ballot on which each vote is recorded is paper3;
                b. They produce a voter-verifiable record of each vote; and
                c. They are capable of supporting a robust pre-certification auditing
                    process.

(Settlement Agreement at 3). Paragraph 2 further includes a footnote clarifying the requirement

that each vote be recorded on paper. That footnote explains that “[a] VVPAT receipt generated

by a DRE machine is not a paper ballot.” (Id. at 3 n.3.) Paragraph 3 states:

         The Secretary will continue to direct each county in Pennsylvania to implement
         these voting systems by the 2020 primaries, so that every Pennsylvania voter in
         2020 uses a voter-verifiable paper ballot.

(Id. ¶ 3 (emphasis added).)

         In addition to these two terms, the Agreement includes a notification provision requiring

Plaintiffs to notify Defendants if they “have a reasonable basis to believe that Defendants are in

non-compliance with a material term of this Agreement.” (Id. ¶ 14.) The Agreement also

provides that it is a “private settlement agreement” and not a “consent decree,” (id. ¶¶ 10, 11),

and that if any term of the agreement is determined to be invalid, the remaining provisions will

not be affected or impaired, (id. ¶ 24).




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    Citations to page numbers of ECF documents correspond to the ECF header pagination.


                                                 11
       Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 16 of 60




       Plaintiffs’ counsel announced the Agreement on their firm’s website on November 29,

2018. In that announcement, Lead Counsel for Plaintiffs, Ilann M. Maazel stated, “We will be

watching closely to ensure Pennsylvania implements every one of these important election

reforms.” Emery Celli Brinckerhoff & Abady LLP, Historic Settlement in Pennsylvania (Nov.

29, 2018), https://www.ecbalaw.com/historic-settlement-in-pennsylvania/ [hereinafter ECBA

Announcement]). At the same time, devotees of hand-counted, hand-marked paper ballots

argued on social media that the Agreement would permit use of systems like the ExpressVote

XL. (See, e.g., Wiygul Decl., ex. 4 (ECF 123-7) (Twitter thread beginning with “I hate to be

Debbie Downer, but this agreement allows PA to buy awful ‘universal use’ touchscreen ballot

markers and scanners, which generate the COMPUTER marked so-called ‘paper ballots’

w/barcodes that I’ve been warning about.”)). Nonetheless, Plaintiff Stein publicized the

Agreement as a victory through a press release and on her Twitter feed. (See @DrJillStein, Nov.

30, 2018 Tweet, attached hereto as Exhibit 3.) In that same Twitter post, an individual asked

what Stein’s response was to the above-cited critic. (See @medellinemil Dec. 2, 2018 Tweet,

attached hereto as Exhibit 4 (commenting on Plaintiff Stein’s November 30, 2018 tweet).)

       Two days after the Settlement Agreement was signed, one day after Mr. Maazel stated

that he would be watching Pennsylvania’s performance “closely,” and the same day Plaintiff

Stein publicization of the Agreement on her Twitter feed resulted in a comment raising specific

questions about machines like the ExpressVote XL, the Secretary of State of the Commonwealth

of Pennsylvania certified the ES&S system—including the ExpressVote XL machine. (Boockvar

Decl. ¶ 60). The Green Party of Pennsylvania also publicized the Agreement, with Plaintiff

Emily Cook stating in a December 2018 update that:

       [t]his settlement moves Pennsylvania closer to verifiable elections but it will be up
       to us, the voter, to ensure that counties purchase machines that not only use paper



                                                12
        Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 17 of 60




        ballots but purchase machines that are untamperable and transparent. We must
        remain vigilant while the state composes their working committee. We want to be
        sure that monied interests don't interfere in this process as the committee creates
        standards for the machines. It's all about the machines.

(Cheryl Rougeux, December Green Star from Pennsylvania: GPPA News Highlights: A Historic

Victory for PA Voters!, https://www.gp.org/december_green_star (last visited Dec. 17, 2019)).

        As part of the certification, the Secretary issued a report. That report clearly stated the

Secretary’s determination that the “ExpressVote XL create[s] a paper ballot based on a voter’s

selections, which is tabulated when the voter affirms that he/she is ready to cast a vote.”

(Boockvar Decl., Ex. 1, at 24 (emphasis added).) And the Secretary made clear that to the extent

there is a conflict between the text and the electronically recorded vote totals, or between the

textual record of the vote and the barcode record, the voter-verified textual record on the paper

ballots will control. (Boockvar Decl. ¶¶ 35-36.)

        Importantly, Plaintiffs did not notify the Secretary in November or December 2018 that

they believed the certification of the ExpressVote XL breached the Settlement Agreement. Nor

did they seek to raise the issue in this Court. Instead, they waited a year to file the instant

Motion. During that year, Philadelphia engaged in the extensive work described above

including:

    •   Receiving responses to the RFP at the end of December 2018, (Nesmith-Joyner
        Decl. ¶¶ 15-17);

    •   The Procurement Commissioner sending a recommendation from the City to the
        Board of Elections on February 12, 2019, (id. ¶ 18);

    •   The Board of Elections deciding that the ES&S ExpressVote XL were appropriate
        for use in Philadelphia on February 20, 2019, in a much publicized public hearing; 3


3
  See, e.g., Jonathan Lai, Commissioners select new voting machines for Philly over criticism
from advocates, Phila. Inquirer (Feb. 20, 2019), https://www.inquirer.com/politics/philadelphia/
philly-new-voting-machines-paper-ballots-20190220.html.


                                                  13
        Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 18 of 60




    •   Receiving and demonstrating the ExpressVote XL machines on April 29, 2019; 4

    •   The Board of Elections indicating that it would not reverse the February 20, 2019
        determination; 5 and

    •   Demonstrating and publicizing the new machines throughout the summer to ensure
        that the public and the local election board workers had all the information
        necessary for a fair and orderly election day (Lynch Decl. ¶¶ 13-16).

Despite this, Plaintiffs did not assert their newly found belief that the ExpressVote XL that

Philadelphia had procured and implemented violated the Settlement Agreement to the Secretary

for eight full months, until July 29, 2019. (Maazel Decl., ex. C. (ECF 112-1).) They made this

assertion in a letter that was sent only after a separate group petitioned the Department of State to

reconsider the certification of the ExpressVote XL on July 17, 2019. 6 That petition argued that

the ExpressVote XL violates the Settlement Agreement. (Maazel Decl., ex. B at 43). And

Plaintiffs waited another four months to raise their challenge with this Court. During that time

Philadelphia continued and completed the work of implementing its new voting system, and

successfully used the system in the November 2019 election. (Lynch Decl. ¶ 26; see also

Jonathan Lai, Philadelphia’s new voting machines had a mostly smooth start. Now for the big




4
 See, e.g., Miguel Martinez-Valle, Exclusive First Look at Philadelphia’s Controversial New
Voting Machines, NBC10 Phila. (Apr. 30, 2019 9:11 PM), https://www.nbcphiladelphia.com/
news/local/a-close-look-at-philadelphia_s-controversial-new-voting-
machines_philadelphia/173295/
5
 See, e.g., Jonathan Lai, Philly elections officials won’t overturn controversial voting-machine
decision, Phila. Inquirer (Apr. 17, 2019), https://www.inquirer.com/politics/election/
philadelphia-voting-machines-purchase-judges-city-commissioners-overturn-20190417.html
6
  Notably, Plaintiff Emily Cook posted an article regarding the litigation and Agreement on the
Green Party US website on April 23, 2019, that focuses on the audit provisions of the agreement
and makes no mention of the issues cited in the July 17, 2019 petition. (Emily Cook, Something
Was Rotten in Pennsylvania (Apr. 23, 2019), https://www.gp.org/rotten_in_pennsylvania
[hereinafter Cook Post].)


                                                 14
       Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 19 of 60




test., Phila. Inquirer (Nov. 11, 2019), https://www.inquirer.com/politics/philadelphia/philly-

voting-machines-2020-election-20191111.html.)

III.   ARGUMENT

       In their Opposition, the Commonwealth has capably and amply refuted each of the points

Plaintiffs raise and rather than repeat those arguments, Intervenors join in the Commonwealth’s

arguments and incorporate them as if set forth herein.

       In addition, Intervenors highlight and clarify a few points also made by the

Commonwealth and introduce additional arguments explaining why Plaintiffs’ requested relief

must be denied.

       A.      Plaintiffs’ Contract Arguments Fail

               1.      Plaintiffs’ Motion Must Be Denied Because Their Proposed Contract
                       Interpretation Is Contrary to the Unambiguous Terms of the
                       Settlement Agreement

       Plaintiffs assert that their Motion is purely a matter of contract interpretation. (Pls.’ Mot.

(ECF 112) at 9.) But if that is the case, this Court need not concern itself with Plaintiffs’

arguments about how the machines work, what defines a vote, or any of the other attempts in

their Motion to introduce extraneous information. Rather, this Court need only consider the

plain and unambiguous language of the Settlement Agreement.

       Paragraph 2 of the Settlement Agreement requires that “[t]he ballot on which each vote is

recorded is paper” and modifies this with Footnote 3 which explains that “A VVPAT receipt

generated by a DRE machine is not a paper ballot.” (Settlement Agreement ¶ 2 & n.3.)

Plaintiffs cannot credibly dispute that the ExpressVote XL records each vote on paper. Rather,

Plaintiffs seek to import into the agreement a definition from the Pennsylvania Election Code

that is referenced nowhere in the Agreement and is contradicted by the agreement itself. (See

Pls.’ Mot. at 14 (citing 25 P.S. § 3031.1 (defining “Paper ballot”)).) As an initial matter,


                                                 15
         Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 20 of 60




Paragraph 2 which purports to place specific limitations on the Secretary’s certification of voting

systems does not use the term “paper ballot” other than to clarify in Footnote 3 that a “VVPAT

receipt” is not a “paper ballot.” As the Commonwealth explained, were Plaintiffs correct and

“paper ballot” was meant in the agreement to have the specific definition set forth in the Election

Code, 7 the clarification set forth in Footnote 3 would have been superfluous. (See Commw.

Opp. at 31 (citing Benchmark Group, Inc. v. Penn Tank Lines, Inc., 612 F. Supp. 2d 562, 579

(E.D. Pa. 2009)).). The Parties’ need to include Footnote 3 for clarification makes clear that

neither “recorded on paper” nor “paper ballot” as used in the Agreement are imbued with the

specific and technical definition set forth in the Election Code. Under these clear terms, the

ExpressVote XL records the vote on paper and, therefore, certification of it cannot be said to

breach that term of the Settlement Agreement.

          Paragraph 3 is no more helpful to Plaintiffs’ argument. As the Commonwealth

explained, Paragraph 3 sets forth a plain language shorthand for the criteria identified in

Paragraph 2. (Commw. Opp. at 30.) Equally important is the fact that Paragraph 3 refers back to

the direction the Secretary had been giving to counties – that they use machines that produce

paper records – and commits the Secretary to continuing such direction. Paragraph 3 does not

require the Secretary to change and limit the direction to only machines that use “paper ballots”

as defined by 25 P.S. § 3031.1, and Paragraph 3 does not directly limit the criteria for

certification. Rather, it is aspirational and requires the Secretary to “continue” to “direct” each

county to implement the new voting systems with voter-verifiable paper ballots by 2020. The

record reflects that the Secretary did continue to do that.




7
    Had the Parties intended that definition, they could have referenced it in the Agreement.


                                                  16
       Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 21 of 60




               2.      To the Extent the Contract Is Ambiguous, the Conduct of the Parties
                       Demonstrates the ExpressVote XL Satisfies the Parties’
                       Understanding at the Time the Contract Was Signed (and for Eight
                       Months Thereafter).

       As the Commonwealth explained, the Settlement Agreement was entered into at a time

Plaintiffs were aware the ExpressVote XL was about to be certified and had provided comments

to the Department of State regarding limitations on certification for use of that machine in

Pennsylvania. (Commw. Opp. at 17-21.) The day after the Settlement Agreement was signed,

counsel for Plaintiffs was quoted in a press statement explaining that “[w]e will be watching

closely to ensure Pennsylvania implements every one of these important election reforms.” (See

ECBA Announcement.) And the very next day, the Secretary certified the ExpressVote XL for

use in Pennsylvania. The possibility of that certification was already a topic of discussion among

hand marked paper ballot advocates and had been raised in Plaintiff Jill Stein’s Twitter feed

discussion of the Settlement Agreement. Were the Secretary’s certification of the ExpressVote

XL in violation of the Settlement Agreement as it was understood by the parties at that time,

Plaintiffs could have objected then. They did not.

       Nor did Plaintiffs raise this argument at any time over the next several months when the

City and the Board of Elections selected, contracted for, and implemented the ES&S voting

system. This was a process of significant public interest that received meaningful coverage in

newspapers including the Philadelphia Inquirer. (See supra notes 5-7). Concurrent with this

process, Plaintiff Emily Cook was writing about the significance of the Settlement Agreement

and the audit procedures for election security in Pennsylvania. (See supra note 8). Nonetheless,

Plaintiffs raised no objection to the Board of Elections actions. Nor did they write to the

Secretary claiming that the certification of the ExpressVote XL was in violation of the

Settlement Agreement. In fact, they remained silent until late July 2019 and did not raise the



                                                17
       Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 22 of 60




issue with this Court until three weeks after the ExpressVote XL had been used successfully

during the 2019 General Election in Philadelphia.

       Plaintiffs’ conduct, including refraining from filing a motion with this Court for over a

year, reflects the plain language of the Settlement Agreement and the Parties’ clear

understanding of the terms of that agreement. The ExpressVote XL was and is among the types

of voting machines and systems which can be certified by the Secretary under the Agreement.

To the extent the Court need look beyond the plain language, it need look no further than

Plaintiffs’ actions – or lack thereof – to see what the agreement was understood to mean when it

was signed.

       B.      Laches Bars Plaintiffs’ Requested Relief

       Plaintiffs maintain that under the terms of the Agreement, the Secretary cannot certify the

ExpressVote XL for use in Pennsylvania. With that in mind, it is impossible to understand how

Plaintiffs stood idly by while the Secretary certified the ExpressVote XL two days after the

Agreement was signed. It is also impossible to understand how Plaintiffs continued to sit on

their hands while counties in Pennsylvania, including Philadelphia, went through the process of

procuring, implementing, and using the ExpressVote XL in their elections. Plaintiffs remained

silent while Philadelphia’s process for acquiring and decision about voting machines was the

subject of significant press coverage. And they did so for a substantial period of time. Plaintiffs

waited eight months before raising the issue at all with the Secretary, and a year before seeking

relief from this Court. During that time, the City and the Board of Elections went through the

entire procurement process and successfully used the new machines in the November 2019

election.

       Because their delay in commencing the suit was inexcusable and unreasonable and

because Intervenors would be prejudiced as a result, the doctrine of laches applies and Plaintiffs’


                                                18
       Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 23 of 60




requested equitable relief – to the extent their recently realized interpretation of the Agreement

were accepted in the first place – must be denied.

       As the Third Circuit has explained, the equitable defense of laches protects against

“unreasonable, prejudicial delay in commencing suit.” In re Bressman, 874 F.3d 142, 149 (3d

Cir. 2017) (quoting SCA Hygiene Products Aktiebolag v. First Quality Baby Products, LLC, 137

S. Ct. 954, 960 (2017)). Under Pennsylvania law, “[l]aches bars relief when the complaining

party is guilty of want of due diligence in failing to promptly institute the action to the prejudice

of another.” Sprague v. Casey, 550 A.2d 184, 187–88 (1988) (citation omitted). And the

elements in both the Third Circuit and Pennsylvania courts are substantially the same:

inexcusable delay and prejudice resulting from the delay. See In re Bressman, 874 F.3d at 149;

Sprague, 550 A.2d at 188.

       Intervenors see no explanation that can excuse Plaintiffs delay here. Each step in this

process was known and publicized. This included the decision of the Philadelphia Board of

Elections on February 20, 2019 to acquire the ExpressVote XL for use in the November 2019

general election. 8 Had the Plaintiffs truly believed that the Board’s decision was in violation of

the Department of State’s directive to purchase voting systems with voter-verifiable paper

records, in addition to seeking redress in front of this Court, they could have acted accordingly at

the time of the decision by working with a registered voter in Philadelphia to challenge a



8
  (See, e.g., Claire Saska, Amid Controversy, City Commissioners Choose New Voting
Machines, Phila. Magazine (Feb. 21, 2019 12:06 PM)
https://www.phillymag.com/news/2019/02/21/new-voting-machines-philadelphia/; Dave Davies,
Controversy swirls around new Philadelphia city voting system, WHYY (Feb. 11, 2019),
https://whyy.org/articles/controversy-swirls-around-new-philadelphia-city-voting-system/; Adam
Hermann, Philly City Commissioners make contentious choice for new voting machines, Philly
Voice (Feb. 20, 2019), https://www.phillyvoice.com/philly-new-voting-machines-paper-ballot-
city-commissioners/; Lai, supra note 3.)


                                                 19
       Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 24 of 60




decision of the County Board of Elections in the Court of Common Pleas. 9 Instead, and without

explanation or excuse, the Plaintiffs waited an additional nine months to file their Motion to

Enforce the Settlement Agreement as a workaround.

       And the prejudice to the City and the Board of Elections that has resulted from Plaintiffs

delay is palpable. The City conducted a large procurement project and entered into a multi-

million-dollar contract for its new voting system. Had Plaintiffs not delayed, those efforts and

taxpayer funds could have been directed in a manner that accounted for Plaintiffs’ challenge to

the ExpressVote XL. Similarly, the Board of Elections, responsible for ensuring fair and orderly

elections, implemented and trained poll workers and voters on a new voting system and utilized

the system in the November 2019 election, all before Plaintiffs filed their Motion. The City and

the Board of Elections would now be prejudiced because purchasing and implementing a new

voting system before the April primary election is simply not feasible this late in the game.

(Lynch Decl. ¶¶ 30-33; Nesmith-Joyner Decl. ¶¶ 22-29; Boockvar Decl. ¶¶ 78-84.) Nor is

attempting to introduce a different voting system in a Presidential general election feasible as

doing so in a high turnout election of national importance “could be a disaster.” (Jan.10, 2019 Tr.

of Philadelphia County Board of Elections at 3:23-4:2, attached hereto as Exhibit 5.) In such

circumstances, equitable restraint and caution are required to mitigate the impact of the requested

relief on fair and orderly elections. See Reynolds v. Sims, 377 U.S. 533, 585 (1964) (equitable

considerations can justify withholding requested relief in election cases). Here, Plaintiffs

requested relief—the decertification of the ExpressVote XL—raises the very real specter that

Philadelphia would be unable to conduct fair and orderly elections for either the 2020 Primary


9
 See, e.g., Kerrigan v. Philadelphia Bd. of Election, No. 07-687, 2008 WL 3562521, at *7 (E.D.
Pa. Aug. 14, 2008) (decision of the City Commissioners regarding polling place relocation can
be appealed to Philadelphia Court of Common Pleas under 2 Pa. C.S. § 752).


                                                20
       Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 25 of 60




Election or the 2020 General Election. The delay, therefore, is particularly damaging to both the

City and the Philadelphia Board of Elections. Importantly, had Plaintiffs not waited to again

create a “judicial fire drill,” (Mem. at 20), and had they raised their claims when the Secretary

first certified the ExpressVote XL, the City and the Board of Elections could have participated in

this case then or awaited further determination on the certification of those machines. Plaintiffs

did not do so, and their Motion should be denied because of their inexplicable delay and the real

harm that would be caused to the City, the Board of Elections, and voters.

       C.      Plaintiffs’ Intended Interpretation of the Contract Would Be Unenforceable

       The gravamen of Plaintiffs’ Motion is that this Court should adopt a reading of the

Settlement Agreement that limits the types of voting machines the Secretary may certify under

the Pennsylvania Election Code to only those machines which utilize a “paper ballot” as that

term is defined in the Electronic Voting Systems section of the Election Code. See 25 P.S.

§ 3031.1. This would significantly narrow the Secretary’s discretion, and such a determination is

the province of the legislature and not something the Secretary could effectuate through a private

Settlement Agreement. See, e.g. Anela v. Pennsylvania Hous. Fin. Agency, 690 A.2d 1157, 1159

(Pa. 1997) (“[A]n agency cannot invest itself with authority or powers not fairly or properly

within the legislative grant.”). The Secretary has an obligation under the Election Code “[t]o

examine and reexamine voting machines, and to approve or disapprove them for use in this state,

in accordance with the provisions of this act.” 25 P.S. § 2621. That legislative grant certainly

requires the Secretary to make discretionary determinations about voting machines. It does not,

however, grant the Secretary rulemaking power, much less the power to determine that entire

categories of machines, which are contemplated within the statute and that otherwise meet




                                                21
       Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 26 of 60




security and accessibility requirements, cannot be certified at all. 10 Because Plaintiffs’ proposed

interpretation of Paragraphs 2 and 3 of the Settlement Agreement would raise serious concerns

about whether those terms were binding, and this Court should strive to give effect to all

provisions of the agreement, the Commonwealth’s interpretation is clearly the preferred, and

correct, one.

IV.    CONCLUSION

       For all the reasons set forth above, Intervenors respectfully request that this Court deny

the Plaintiffs’ Motion to Enforce the Settlement Agreement.



Dated: December 17, 2019                                      /s/ Benjamin H. Field
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                                                              Philadelphia, PA 19102
                                                              Phone: (215) 683-5024
                                                              Fax: (215) 683-5299
                                                              Benjamin.Field@phila.gov




10
  Were Plaintiffs’ interpretation of the Settlement Agreement correct, it would also raise the
question of whether a successor administration and Secretary can be bound by a prior
administration and Secretary. See Lobolito, Inc. v. North Pocono School Dist., 562 Pa. 380, 389
(2000). Here, the current Secretary has determined that the ExpressVote XL meets the
requirements of the Election Code. An additional, extra-legislative requirement should not be
enforced to override the Secretary’s exercise of statutorily defined discretionary duties.


                                                 22
       Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 27 of 60




                                CERTIFICATE OF SERVICE

       I hereby certify that, on the date set forth below, I served a true and correct copy of the

foregoing Memorandum of Law upon all counsel of record as a result of filing such document(s)

electronically. Such document is therefore available for viewing and/or downloading pursuant to

the Court’s ECF system and is served pursuant to FRCP Rule 5(b) and Local Civil Rule 5.1.2.




                                                      BY:     /s/ Benjamin Field
                                                              Divisional Deputy City Solicitor
Dated: December 17, 2019




                                                23
Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 28 of 60


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         EXHIBIT "1"
       Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 29 of 60




v.
Philadelphia County Board of Elections                 ELECTION MATTER


   PARTIAL APPEAL OF DECISION OF PHILADELPHIA BOARD OF ELECTIONS
                          UNDER 25 P.S. § 3157

        COMES NOW Appellant Jill Stein, by and through her counsel Gregory M. Harvey,

Esq., and files this appeal and in support thereof avers as follows:

        1.     Jurisdiction of this Court is founded upon 25 P.S. § 3157, which provides for an

appeal to the Court of Common Pleas from "any order or decision" of a County Board of

Elections "regarding the computation or canvassing of the returns of any primary or election, or

regarding any recount or recanvass thereof under" 25 P.S. §§ 3261, 3262, and 3263.

       2.      On November 22, 2016, Appellant Jill Stein, a presidential candidate in the 2016

election, publicly called for a recount of the election results in Pennsylvania and announced a

grassroots fundraising and organizing campaign in support of that recount.

       3.      In response to that call, and based upon leading technical experts' well-founded

concerns about the integrity of electronic voting equipment, thousands of Pennsylvania voters

have requested recounts in their precincts to ensure that the results of the 2016 Election

accurately reflect the will of the voters and are untainted by systemic error or malfeasance. The

only way to ensure the accuracy and integrity of the vote is through a recount.

       4.      On Monday, November 28, 2016, thousands of voters throughout the

Commonwealth petitioned their local Boards of Elections for recounts or recanvasses of the

election results in their districts under 25 P.S. § 3154(e). These efforts are continuing.




                                                                                        Case ID: 161103335
       Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 30 of 60




        5.     Before Philadelphia finished computing the vote, 297 Philadelphia voters filed

petitions in the Philadelphia Board of Elections (the "Board") for a recount under 25 P.S.

§ 3154(e) (the "Petitions"). On December 1, the Board met at a public hearing and found that

282 of the petitions met the statutory requirements under Section 3154(e). Petitioner Jill Stein

does not challenge the rejection of the remaining 15 petitions.

       6.      The 282 voters represent three or more electors from each of 75 election districts

(from 21 wards) in Philadelphia. The Board then voted to recount and recanvass the vote in

those 75 election districts. The recount is scheduled to begin today. Petitioner supports that

decision of the Board and is not appealing it. There can be no dispute that the 282 voters

complied with the election code and that the recount should proceed in those 75 districts.

       7.      In addition, the 282 voters each requested that the Board pennit a forensic

examination of the DRE electronic voting system as part of the recount. Ex. A (example of

blank petition with supporting materials, submitted by each petitioner to the Board). This is

required, inter alia, under 25 P.S. § 2650(c) ("Any candidate, attorney or watcher present at any

recount of ballots or recanvass of voting machines shall be entitled to examine ... the voting

machine and to raise any objections regarding the same, which shall be decided by the county

board, subject to appeal, in the manner provided by this act.") (Emphasis added.)

       8.      Prior to the public hearing of the Board, counsel for Ms. Stein requested that the

Board should permit her, as a candidate for President, to "examine ... the voting machine." 25

P.S. § 2650(c). Ex. B (letter to Philadelphia Board of Elections). At the hearing, counsel for Ms.

Stein orally renewed the request. Without explanation, the Board denied the request.

       9.      Petitioner Stein appeals this denial. The Board's denial of the request for a

forensic examination as part of the recount was an "order or decision of any county board



                                                 2

                                                                                     Case ID: 161 IOJ335
        Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 31 of 60




regarding the computation or canvassing of the returns of any primary or election." See 25 P .S. §

3157.

        10.    This appeal is timely filed within two days of the Board's December 1 decision.

        11.    As a candidate for President, Petitioner has standing to bring this appeal as an

''aggrieved person" within the meaning of Election Code Section 1407(a), 25 P.S. § 3157(a); see

In re Canvass ofAbsentee Ballots ofNovember 4, 2003 General Election, 839 A.2d 451,457

(Pa. Cmwlth. 2003), rev 'don other grounds 843 A.2d 1223 (Pa. 2004) (state political party had

standing to challenge the Allegheny County election Board's decisions concerning the post-

election canvassing of absentee ballots because the election Code specifically allowed candidates

to appoint "watchers" to insure integrity of voting process, and without standing to challenge the

board's decisions, the right to appoint watchers would be meaningless).

        12.    For the reasons set forth in this Appeal, in the attached Memorandum of Law in

Support of the Appeal, and the affidavits attached in support of the appeal (attached as Exs. C, D,

E, F, G, & H), Petitioner Jill Stein requests that she be permitted to perform a forensic

examination of the DRE electronic voting system used in the 75 election districts that are the

subject of the Board-ordered recount.




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                                                                                       Case ID: 161103335
     Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 32 of 60




                                   Respectfully submitted,


Dated: December 2, 2016

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                                   * Not admitted in PA; motion for pro hac
                                   vice admission forthcoming




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                                                                         Case ID: 161103335
       Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 33 of 60




Jill Stein                                             Docket No.:
v.
Philadelphia County Board of Elections                 ELECTION MATTER


  MEMORANDUM OF LAW IN SUPPORT OF PARTIAL APPEAL OF DECISION OF
       PHILADELPHIA BOARD OF ELECTIONS UNDER 25 P.S. § 3157

               "Nothing can be more vital towards the accomplishment of an honest andjust

selection than the ascertainment of the intention of the voter." Appeal ofMcCracken, 370 Pa.

562, 566 (1952). Two hundred eight-two voters in 75 precincts in Philadelphia have come

forward to ensure that their votes and the votes of their fellow citizens are counted accurately and

fairly. Presidential candidate Jill Stein supports that effort. But it is not enough to recanvass

votes on a machine. The candidates are entitled by statute to forensically examine the direct

recording electronic ("DRE") electronic voting system used in these 75 precincts.


Jill Stein ls Statutorily "Entitled" to "Examine" the DRE Electronic Voting System

                "Any candidate, attorney or watcher present at any recount of ballots or recanvass

of voting machines shall be entitled to examine ... the voting machine and to raise any

objections regarding the same, which shall be decided by the county board, subject to appeal, in

the manner provided by this act." 25 P.S. § 2650(c) (italics added.) The statute does not define

"examine," but plainly an examination is considerably more searching than watching a

recanvass. To examine means "to inspect closely," to "test the condition of," to "inquire into

carefully." http://www.merrian1-webster.com/dictionary/examine.

               Philadelphia uses a DRE electronic voting system. Jill Stein is entitled under the

statute to "test the condition" of the DRE system, and to "inspect" it "closely." That necessarily


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                                                                                        Case ID: 161103335
       Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 34 of 60




requires a forensic examination of the DRE software, removable media, and electronic

management system. The only way to "test the condition" of the DRE system is to examine the

software and electronic audit logs of the system. A meaningful examination requires access to

the electronic components that record and tally votes: electronic firmware, software, audit logs,

and the contents of removable media that move back and forth between election management

computers and DREs-in other words, a forensic examination by computer scientists who have

studied electronic voting systems.

               "Paperless DRE voting machines do not create any physical record of each vote,

so forensic examination of the equipment is the only way to assures that the machines were not

manipulated in a cyberattack." Affidavit of J. Alex Halderman attached to the Petitions

("Halderman Aff.") Ex. A, 15. An observer watching a recanvassing is like a doctor watching a

patient. In neither case can anyone give a clean bill of health. It would be election malpractice.

               Finally, there is no reason why a forensic examination should itself compromise

the vote tally. As an initial matter, a great deal of the examination can be done simply by

examining the central election management system, before deciding whether it is even necessary

to examine the machines themselves.

               In an optical scan county, a candidate can examine the paper ballots, which are

the best record of the intent of the voter. The DRE, however, does not use any paper ballot.

There is no paper record to examine. Only the DRE system can be examined.

               The statute is plain, as is the duty of the Board. Ms. Stein, by her representatives,

is entitled to examine the DRE voting system used in Philadelphia. The time for that

examination is now, during the "recount." 25 P.S. § 2650(c). We have top computer experts

ready to do so, on one day's notice, under the supervision of the Board of Elections or this Court.



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                                                                                       Case ID: 161103335
       Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 35 of 60




Ms. Stein will even pay for these experts. The only thing standing between a voter and the

election result is the DRE system. The system must be examined. 25 P.S. § 2650(c).


The Circumstances of the 2016 Presidential Election Require a Forensic Analysis oftlte DRE
Machines

               Jill Stein has no obligation to explain or justify her demand to examine the DRE

voting system: it is her statutory right. 25 P.S. § 2650(c). Nevertheless, Ms. Stein and these 282

voters have good reason to demand a forensic examination in this 2016 election.

               The 2016 presidential election was subject to unprecedented cyber attacks

intended to interfere with the election. Attackers infiltrated the voter registration

systems of two states, Illinois and Arizona, and stole voter data. Attackers attempted to breach

election offices in more than 20 other states. Attackers broke into the email

system of the Democratic National Committee. The Director of Intelligence and Department of

Homeland Security are "confident" that a foreign government engaged in hacking "to interfere

with the US elections process." See Ex. A Halderman Aff. ,r 6 & attached exhibits.

               In addition, experts have repeatedly documented in peer-reviewed and state-

sponsored research that American voting machines-including these voting machines-have

serious security problems. Voting machines are computers with reprogrrumnable software. An

attacker who can modify that software by infecting the machines with malware can cause the

machines to provide any result of the attacker's choosing. In just a few seconds, anyone can

install vote-stealing malwru·e on a voting machine that silently alters the electronic records of

every vote. See Halderman Aff. ,r 9.

               Practically speaking, it is not possible to determine with certainty the absence of

malicious software hiding within what might appear to be mru1y thousands of lines of legitimate



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                                                                                        Case ID: 161103335
      Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 36 of 60




software code. See Affidavit of Poorvi L. Vora, 13. Whether voting machines are connected to

the Internet is irrelevant. Sophisticated attackers such as nation-states have developed a variety

of techniques to attack non-Internet-connected systems. Shortly before each election, poll

workers copy the ballot design from a regular desktop computer in a government office (or at a

company that services the voting machines) and use removable media (akin to the memory card

in a digital camera) to load the ballot design onto each machine. That initial computer is almost

certainly not well enough secured to guard against attacks by foreign governments. If technically

sophisticated attackers infect that computer, they can spread vote-stealing malware to every

voting machine in the area.

               Most voting machines also have reprogrammable software ("firmware") that can

in many cases be manipulated well in advance of the election to introduce vote-stealing malware.

Technically sophisticated attackers can accomplish this with ease. Halderman Aff. 1 1O; see also

Affidavit of Dan S. Wallach , 7 ("Combine the patience and resourcefulness of a nation-state

adversary with the unacceptably poor state of security engineering in our voting systems," and it

becomes "entirely reasonable to consider attacks against our voting systems to be within the

feasible scope of our adversaries' capabilities"); Affidavit of Ronald L. Rivest, 8 ("We have

learned the hard way that almost any computer system can be broken into by a sufficiently

determined, skillful, and persistent adversary. There is nothing special about voting systems that

magically provides protection against attack.")

               While the vulnerabilities of American voting machines have been known for

some time, states' responses to these vulnerabilities have been patchy and inconsistent at best.

"Many states, including Pennsylvania, continue to use out-of-date machines that are known to be

insecure." Halderman Aff. 111.



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                                                                                      Case ID: 161103335
         Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 37 of 60




The DRE Machilles iu Philadelphia Are Particularly Vulnerable

                  The paperless direct recording electronic (DRE) machines that Philadelphia

uses-the Danaher Shouptronic 1242-are outdated and vulnerable to fraud and tampering. See

generally Supp. Haldennan Afr1; Lopresti Aff. 2 The 1242 was first marketed in the early 1980s,

when most of the country was still using IBM punch card vote tabulators. Though innovative in

its time, the Shouptronic 1242 lacks even the inadequate security features of more advanced

touch screen DRE machines developed by other companies in later years-systems that have

been decertified by other states after examinations by computer security experts revealed serious

vulnerabilities to tampering.

                 This model of machine was introduced in the early 1980s and has not had its

security features updated in more than 30 years. Cyber attacks have become significantly more

sophisticated during that time, and the security features in the machine are unlikely to be able to

defend against today's attackers. Researchers at Lehigh University have analyzed the

Shouptronic' s computer architecture and shown that it is constructed in a very similar manner to

the Sequoia AVC Advantage, a well-studied DRE with serious security vulnerabilities. 3 This

computer architecture subjects the machines to inany of the same attacks. Attackers can replace

the machines' ROM chips to cause the machines to output fraudulent results. The machines'

design makes it extremely likely that malware can infect the machines via the removable

memory cartridges that are used to program the ballot design and retrieve vote totals. The


1
 "Halderman Supp. Aff." refers to the Supplemental Affidavit of J. Alex Halderman, dated
November 30, 2016, attached.
2
    "Lopresti Aff." refers to the Affidavit of Daniel Lopresti, dated November 29, 2016, attached.
3
    https://verifiedvoting.org/downloads/2008Danaher1242-full.pdf

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                                                                                       Case ID: 161103335
         Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 38 of 60




Shouptronic has also already been problematic in past elections, 4 malfunctioning and causing

significant delays in voting multiple times in Pennsylvania, Tennessee, and Ohio.


Forensic Analysis of the DRE System Is the Only Way to Determine Wit ether Tftey Were
Compromised

                 ''Voting equipment that might yield forensic evidence of an attack includes voting
                                             !
machines, removable media, and election management system computers. All of these must be

forensically analyzed to ensure the integrity of the result." Halderman Aff. i11 s. "Paperless

DRE voting machines do not create any physical record of each vote, so forensic examination of

the equipment is the only way to assure that the machines were not manipulated in a

cyberattack." Id (emphasis added).

                 Without a forensic evaluation, a recanvass would simply involve a review of the

"ballot images" retrieved from computer memory-images that are created by the exact same

code that creates the vote tally in the machine. This is like seeking a second opinion from the

same doctor. It is virtually useless. Only a forensic examination of the DRE system would allow

examiners to determine whether or not the information stored in the computer memory in those

systems represents an accurate record of the votes cast on those machines. Lopresti Aff. 1115,

17.




4
    https://w2 .eff.org/Activism/E-voting/infosheets2006/ELECTronic 1242.pdf

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                                                                                      Case ID: 161103335
       Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 39 of 60




Tltis Court and tlte Board Have tlte Power to Grant Tltis Relief

                The Board has broad powers to ensure there is no fraud in an election. First, the

Board has a statutory duty "to inspect systematically and thoroughly the conduct of primaries

and elections in the several election districts of the county to the end that primaries and elections

may be honestly, efficiently, and uniformly conducted." 25 P.S. § 2642(g). The Board also has

the duty "[t]o investigate election frauds, irregularities and violations of this act," and "[t]o

perform such other duties as may be prescribed by law." 25 P.S. § 2642 (i, o). A forensic

examination of the DRE voting system serves all of these purposes: it is a way "to inspect

systematically and thoroughly the conduct" of this election in these districts to ensure it was

"honestly, efficiently, and uniformly conducted." 25 P.S. § 2642(g). It serves the requirement to

investigate potential "election fraud." 25 P.S. § 2642 (i).

               Lest there be any doubt about the Board's power and obligation to permit this

forensic examination, one need only look at the holding of the Supreme Court in McCracken,

370 Pa. 562. Mere canvassing of the DRE voting machines is insufficient to fulfill the Board's

"apparent and impelling" duty to ascertainO/or whom votes were cast." Id. at 566. (emphasis in

original). As the Pennsylvania Supreme Court held, "[i]n the computation of the vote, [the

Board's] functions are not limited to those of a humanized adding machine. The Board is not a

multiple comptometer." Id. at 565. Rather, the Pennsylvania Election Code is "a highly

remedial statute which should be liberally construed in order to secure a proper computation of

the votes cast at an election." In re Recount of Ballots ofRome Twp., Crawford Cty., 397 Pa.

331,332 (1959).

               "There could scarcely be a duty more apparent and impelling on an Election

Board than that of ascertaining/or whom votes were cast." McCracken, 370 Pa. at 565 (emphasis



                                                  11

                                                                                          Case ID: 161103335
      Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 40 of 60




in original). In this case, in this election, and with these DRE machines, the only way to ensure

the integrity of the vote in this county is a forensic exam.


Conclusion

               For all of these reasons, the Board's decision denying a forensic examination of

the DRE voting system used in these 75 precincts should be reversed, and the Court should

permit Jill Stein's representatives to examine the DRE voting system, under the supervision of

the Board or the Court.


                                               Respectfully submitted,


Dated: December 2, 2016

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                                               * Not admitted in PA; motion for pro hac
                                               vice admission forthcoming




                                                  12
                                                                                      Case ID: 161103335
Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 41 of 60
Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 42 of 60
Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 43 of 60
Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 44 of 60
Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 45 of 60
Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 46 of 60
Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 47 of 60
Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 48 of 60
Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 49 of 60
Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 50 of 60
Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 51 of 60
Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 52 of 60




        EXHIBIT “5”
Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 53 of 60
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                     January 10, 2019

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  COMMISSIONERS PRESENT:

    LISA DEELEY, CHAIRWOMAN
    AL SCHMIDT, COMMISSIONER
    ANTHONY CLARK, COMMISSIONER
    SETH BLUESTEIN, DEPUTY COMMISSIONER
    NICK CUSTODIO, DEPUTY COMMISSIONER



  HELD AT:

     Delaware and Spring Garden Streets
     Philadelphia, Pennsylvania


                REPORTED BY: Kathryn R. Doyle
               Strehlow & Associates, Inc.
                      (215)504-4622
     Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 54 of 60
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 1          CHAIRWOMAN DEELEY:   Good evening.   Thank

 2     you everyone for coming out tonight. It is

 3     great to see people who share our interest in

 4     the future and our elections.

 5          We are here tonight to talk about

 6     upgrading our voting technology. The

 7     replacement of our aging voting system is not

 8     something that we decided to act upon yesterday

 9     or last month. This has been a long-term goal

10     of the City Commissioners, dating back to

11     before I was sworn into office in 2016.

12          The previous Election Board worked to

13     draft a request for information and to get a

14     bond question placed on the ballot, from which

15     $22 million was placed in the capital budget

16     for this purpose.

17          I would like to thank my colleagues,

18     Commissioner Clark and Commissioner Schmidt,

19     for their work on that, along with former Mayor

20     Nutter and former Commissioner Singer.

21          We returned to this effort with renewed

22     urgency in late 2017, before any action had

23     been taken by the Department of State or the

24     Governor. Our goal was, and still is, to
     Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 55 of 60
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1      purchase new voting equipment that is secure

2      and easy to use for Philadelphia voters.     And

3      that would include a voter verifiable,

4      auditable paper trail and new electronic poll

5      books.

6           For a voting municipality the size of

7      Philadelphia, with complex procurement and

8      contracting procedures, this process usually

9      takes 3 years.

10          For example, the State of Delaware just

11     wrapped up their 3 year process to replace

12     their Danaher machines.

13          After the Governor’s announcement and

14     subsequent directives from the Department of

15     State, we had to start from scratch when we

16     were limited to choosing just one certified

17     system.

18          Subsequently, in meetings with the

19     Department of State and the Governor’s staff,

20     it was communicated that they wish Philadelphia

21     to move to a new system by 2020 and that

22     decertification was on the table.

23          Getting new machines in 2020, in the midst

24     of the busiest election of the four-year cycle
     Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 56 of 60
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1      and with such national importance, could be a

2      disaster.

3           As such, we will be looking to roll out

4      new voting equipment this November 2019. This

5      means our three-year timeframe has become a

6      one-year timeframe.

7           With the RFP we released in November, we

8      are assessing our ability to meet this

9      ambitious goal.

10          Many people in city government think that

11     we are crazy, but I am determined to make this

12     happen if we are able to.

13          For this timeline to be feasible and

14     realistic, we need to decide on new voting

15     technology by February. This leaves time for us

16     to acquire the machines, public education, and

17     to train all of our City’s many poll workers.

18          I am on Twitter and I am on Facebook, and

19     I know that some people are unhappy about the

20     process. Believe me, we are unhappy too.

21          Originally, we had wanted to have the

22     vendors come in and do demos all over the City,

23     so voters could touch and test the different

24     options. But that is just not possible under
     Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 57 of 60
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1      the new timetable.

2           Instead, I wanted to do community meetings

3      all over the City to talk about the responses

4      we got from the RFP. But that is not possible

5      because of the City’s procurement rules. All we

6      are permitted to say about the RFP responses

7      while they are being evaluated is that we

8      received 6 responses.

9           In fact, myself and my fellow

10     Commissioners are not allowed to even see the

11     responses until the scoring committee has

12     finished their process, which needs to be

13     completed before we can vote on anything.

14          But before we hear from the scoring

15     committee, we want to hear from members of the

16     public. We want all of you to have a chance to

17     tell us, your elected City Commissioners, what

18     you would like to see in our next voting

19     system.

20          I also ask that you please do not forget

21     about electronic poll books, which I am

22     particularly passionate about.

23           Electronic poll books will revolutionize

24     the voting experience in Philadelphia --
     Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 58 of 60
                                                                  46



 1       everyone for being here.           We'll be back again

 2       on Saturday.   Have a great evening.

 3                      -   -   -   -   -

 4     (Whereupon the hearing concluded at 6:53 p.m.)

 5                      -   -   -   -   -

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     Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 59 of 60
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 1

 2             C E R T I F I C A T I O N

 3

 4                       I, hereby certify that the

 5             proceedings and evidence noted are

 6             contained fully and accurately in the

 7             stenographic notes taken by me in the

 8             foregoing matter, and that this is a

 9             correct transcript of the same.

10

11             ___________________________

12             Kathryn Doyle
               Court Reporter - Notary Public
13

14

15                       (The foregoing certification of

16             this transcript does not apply to any

17             reproduction of the same by any means,

18             unless under the direct control/or

19             supervision of the certifying reporter.)

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Case 2:16-cv-06287-PD Document 131-1 Filed 12/17/19 Page 60 of 60
